     Case 3:21-cv-01305-BAS-DDL    Document 266          Filed 12/12/23   PageID.8601   Page 1
                                          of 27


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                            UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
 9
10     IMPRIMISRX, LLC,                                  Case No. 21-cv-01305-BAS-DDL
11                                    Plaintiff,
12           v.                                          ORDER:

13                                                       (1) DENYING DEFENDANTS’
                                                         MOTION TO EXCLUDE
14                                                       PLAINTIFF’S WITNESSSES (ECF
       OSRX, INC.; OCULAR SCIENCE, INC.,                 No. 189-1);
15                                 Defendants.           (2) GRANTING DEFENDANTS’
16                                                       MOTION FOR PARTIAL
                                                         SUMMARY JUDGMENT (ECF No.
17                                                       168-1);

18                                                       AND

19                                                       (3) GRANTING IN PART AND
                                                         DENYING IN PART PLAINTIFF’S
20                                                       MOTION FOR PARTIAL
                                                         SUMMARY JUDGMENT (ECF No.
                                                         171-1)
21
22
23          Before the Court are two motions for partial summary judgment by the parties and a
24    motion by Defendants to exclude belatedly identified witnesses. (ECF Nos. 168-1, 171-1,
25    189-1.) Defendants OSRX, Inc. and Ocular Science, Inc. filed a motion for partial
26    summary judgment with respect to Plaintiff ImprimisRx, LLC’s false advertising claims
27    and their affirmative defense of unclean hands. (ECF No. 168-1.) Plaintiff ImprimisRx
28    filed a motion for cross summary judgment with respect to its false advertising claims

                                                   -1-
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266       Filed 12/12/23   PageID.8602   Page 2
                                            of 27


 1    against Defendants and with respect to Defendants’ false advertising counterclaims. (ECF
 2    No 171-1.) Defendants also filed a motion to exclude twelve witnesses identified in
 3    Plaintiff’s amended witness disclosures following the close of fact discovery. (ECF No.
 4    189-1).
 5          For the following reasons, the Court DENIES Defendants’ motion to exclude
 6    Plaintiff’s belatedly identified witnesses and reopens fact discovery solely to allow for the
 7    deposition of these witnesses, GRANTS Defendants’ motion for partial summary
 8    judgment, and GRANTS IN PART AND DENIES IN PART Plaintiff’s motion for partial
 9    summary judgment.
10
11                                         BACKGROUND
12    I.    Factual and Regulatory Background
13          Both Plaintiff and Defendants are compounding pharmacies that focus on
14    medications used in optometry and ophthalmology. Compounding is the practice of
15    combining, mixing, or altering ingredients of an existing drug to create a product tailored
16    to the needs of a specific patient. (ECF No. 171-1 at 8.) Ordinarily, the Federal Food,
17    Drug, and Cosmetic Act (“FDCA”) requires drug-makers to obtain approval to sell
18    pharmaceutical products under extended, rigorous approval guidelines. However, Sections
19    503A and 503B of the FDCA provide exceptions from those approval guidelines for
20    compounded drugs under certain conditions. There are two versions of compounding
21    pharmacies under these exceptions: Section 503A pharmacies fill prescriptions for
22    individual patients and Section 503B pharmacies produce compounded products in large
23    quantities that are not necessarily tied to a specific patient. Plaintiff ImprimisRx operates
24    both a Section 503A pharmacy and a Section 503B pharmacy. (ECF No. 171 at 9.)
25    Defendants OSRX and Ocular Science operate only a Section 503A pharmacy. (Id. at 10.)
26          Section 503A allows for drugs compounded “for an identified individual patient . . .
27    [that are] necessary for the identified patient” to be exempted from the typical FDCA drug-
28    approval requirements if certain conditions are met. 21 U.S.C. § 353a. This exemption

                                                  -2-
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL     Document 266       Filed 12/12/23     PageID.8603   Page 3
                                           of 27


 1    applies where: (1) the drug compounding occurs after the receipt of a valid, individual
 2    prescription; or (2) the drug compounding occurs before the receipt of a valid, individual
 3    prescription “based on a history of . . . receiving valid prescription orders for the
 4    compounding of the drug product” within an “established relationship” between the
 5    compounding pharmacy and the prescriber. Id.
 6          Among other conditions, Section 503A also requires compliance with the
 7    “applicable United States Pharmacopeia (“USP”) . . . monograph if one exists, and the
 8    [USP] chapter on pharmacy compounding.” USP General Chapter 797 “describes the
 9    minimum standards to be followed when preparing compounded sterile human and animal
10    drugs” including “ophthalmic dosage forms.” USP Chapter 797 § 1. USP Chapter 797
11    provides numerous regulations and procedures that must be followed including garbing,
12    labeling, cleaning, monitoring, and testing requirements.           Violations of the sterile
13    manufacturing requirements of USP Chapter 797 also imply non-compliance with Section
14    503A of the FDCA.
15          Section 503B provides an exception to the FDCA’s drug approval guidelines for
16    bulk compounded drug products sold to practitioners and hospitals as “office stock” to be
17    available for use on an as-needed basis. 21 U.S.C. § 353b. These outsourcing facilities
18    are exempted from the FDCA’s premarket approval requirements if eleven statutory
19    criteria are met. Id.
20    II.   Procedural Background
21          The Court addresses Defendants’ motion to exclude Plaintiff’s belatedly identified
22    witnesses and the parties’ cross motions for summary judgment on false advertising claims
23    brought under the Lanham Act, 15 U.S.C. §1125 (a).                On July 20, 2021, Plaintiff
24    commenced this action alleging claims of false advertising, trademark infringement, false
25    designation of origin, common law unfair competition, copyright infringement, and
26    violation of California’s Unfair Competition Law. (ECF No. 1.) On April 14, 2023,
27    ImprimisRx filed the operative Third Amended Complaint. (ECF No. 145.)
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                                                 -3-
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL     Document 266        Filed 12/12/23   PageID.8604   Page 4
                                           of 27


 1          Relevant to the motions before the Court, Plaintiff asserts that Defendants engaged
 2    in false advertising in violation of the Lanham Act by: claiming they operate in compliance
 3    with Section 503A of the FDCA (“Section 503A Compliance Claims”); claiming their
 4    products “are safe and effective, and appropriate for the treatment of certain maladies”
 5    (“Safety and Efficacy Claims”); claiming studies show the safety and efficacy of their
 6    products (“Study Claims”); claiming their products can be used to treat certain diseases,
 7    such as glaucoma, or used as LASIK drops, when they cannot (“Disease Use Claims”); and
 8    failing to disclose contraindications associated with their drugs (“Contraindications
 9    Claims”). In its Opposition to Defendants’ motion, Plaintiff clarified it does not intend to
10    pursue its Safety and Efficacy Claims or Study Claims at trial but does intend to pursue its
11    Section 503A Compliance, Disease Use, and Contraindications Claims at trial. (ECF No.
12    203 at 10.) Accordingly, the Court does not review Plaintiff’s Safety and Efficacy Claims
13    or Study Claims here.
14          On May 13, 2022, Defendants filed their Answer and Counterclaims to Plaintiff’s
15    Amended Complaint which asserted four false advertising counterclaims. (ECF No. 30.)
16    Defendants contend Plaintiff engaged in false advertisements through: statements by Mark
17    L. Baum, the CEO of ImprimisRx’s parent company, claiming ImprimisRx is “compliant
18    with highest quality standards” and is “100% dedicated to patient safety and regulatory
19    compliance” (“Baum Claims”); statements in a video by John Saharek, ImprimisRx’s
20    president, that Plaintiff uses “strict sterile manufacturing processes” where “[e]ach
21    formulation is properly labeled” and then “approved using validated and stringent testing
22    requirements” (“Saharek Claims”); statements on ImprimisRx’s website that ImprimisRx
23    “provides sterile compounded formulations you can trust” (“Trust Claims”); and
24    statements that ImprimisRx is compliant with USP standards for its sterility testing, beyond
25    date use, pre-shipment quarantine, and endotoxin testing internal monitoring procedures
26    (“USP Claims”). (ECF No. 152 at 21–22.)
27          On June 2, 2023, Plaintiff and Defendants filed the present motions for partial
28    summary judgment with respect to Plaintiff’s false advertising claims and Defendants’

                                                  -4-
                                                                                          21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266       Filed 12/12/23   PageID.8605   Page 5
                                            of 27


 1    false advertising counterclaims. (ECF Nos. 168-1, 171-1.) In specific, Plaintiff moves for
 2    partial summary judgment on its Section 503 Compliance Claims. (ECF No. 171-1 at 10–
 3    11.) Defendants move for cross summary judgment on this claim and Plaintiff’s Safety
 4    and Efficacy claims. (ECF No. 168-1 at 14.) Additionally, Defendants move for summary
 5    judgment on their unclean hands defense. (ECF No. 168-1 at 25–26.) Plaintiff also brings
 6    a motion for partial summary judgment on Defendants’ false advertising counterclaims.
 7          In addition to the parties’ cross motions for summary judgment, the Court considers
 8    Defendants’ motion to exclude Plaintiff’s belatedly identified witnesses. (ECF No. 189-1.)
 9    On February 24, 2022, Plaintiff served Rule 26(a) initial disclosures on Defendants. (ECF
10    No. 200 at 6.) On March 2, 2023, the fact discovery window closed. (ECF No. 91.) On
11    April 28, 2023, Kelsey Deschamps, a former OSRX employee, left a voicemail for
12    Plaintiff’s counsel claiming she had information that would be pertinent to the litigation.
13    (ECF No. 200 at 7.) Plaintiff was unaware of Deschamps prior to this voicemail. (Id.)
14    Twenty days after Deschamps left her voicemail, on May 18, 2023, Plaintiff served
15    amended disclosures adding twelve new witnesses, ten of which are former OSRX
16    employees, including Deschamps. (Id. at 8.) Defendants now move to exclude the
17    evidence to be offered by these twelve witnesses. (ECF No. 189-1.)
18                                           ANALYSIS
19    I.    Defendants’ Motion to Exclude Plaintiff’s Witnesses
20          Defendants move to exclude the twelve witnesses newly identified in Plaintiff’s
21    Second Amended Initial Disclosures under Rules 26 and 37 of the Federal Rules of Civil
22    Procedure. (ECF No. 189-1.) Fact discovery for this case was closed March 2, 2023. (ECF
23    No. 91.) On May 18, 2023, Plaintiff served its Second Amended Initial Disclosures
24    identifying the twelve new witnesses, who are all current or former OSRX employees.
25    (ECF No. 189-1 at 6.) Plaintiff contends it was not previously aware of these witnesses or
26    their testimony before Deschamps left a voicemail on April 28, 2023. (ECF No. 200 at 6.)
27          Federal Rule of Civil Procedure 26(a) requires “a party must, without awaiting a
28    discovery request, provide to the other parties . . . the name and, if known, the address and

                                                  -5-
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266        Filed 12/12/23   PageID.8606   Page 6
                                            of 27


 1    telephone number of each individual likely to have discoverable information—along with
 2    the subjects of that information—that the disclosing party may use to support its claims or
 3    defenses, unless the use would be solely for impeachment[.]”               Fed. R. Civ. P.
 4    26(a)(1)(A)(i). Additionally, Rule 26(e) requires:
 5          “[a] party who has made a disclosure under Rule 26(a)—or who has responded
            to an interrogatory, request for production, or request for admission—[to]
 6
            supplement or correct its disclosure or response . . . in a timely manner if the
 7          party learns that in some material respect the disclosure or response is
            incomplete or incorrect, and if the additional or corrective information has not
 8
            otherwise been made known to the other parties during the discovery process
 9          or in writing[.]”
10    Fed. R. Civ. P. 26(e)(1)(A).
11          Where “a party fails to provide information or identify a witness as required by Rule
12    26(a) or (e), the party is not allowed to use that information or witness to supply evidence
13    on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is
14    harmless.” Fed. R. Civ. P. 37(c)(1). “In addition to or instead of this sanction, the court on
15    motion and after being given an opportunity to be heard” may instead “order payment of
16    the reasonable expenses, including attorney’s fees, caused by the failure[,] may inform the
17    jury of the party’s failure[,] and may impose other appropriate sanctions[.]” Id.
18          Plaintiff argues it did not violate its Rule 26(a) or (e) discovery obligations because
19    it was previously unaware of Deschamps and amended its disclosures “in a timely manner”
20    once it verified Deschamps’s information. (ECF No. 200 at 11–12.) Defendants insist
21    Plaintiff was dilatory by taking three weeks to investigate Deschamps’s claims and should
22    have been aware of Deschamps if ImprimisRx had exercised proper diligence in
23    investigating the case. (ECF No. 189-1.)
24          Amended disclosures served after the close of discovery are presumptively untimely.
25    See, e.g., Ashman v. Solectron, Inc., No. CV 08-1430 JF, 2010 WL 3069314, at *4 (N.D.
26    Cal. Aug. 4, 2010). Here, however, Plaintiff was not aware of Deschamps or any of the
27    belatedly disclosed witnesses and was not aware of the content of their testimony prior to
28    Deschamps recording her voicemail. Rule 26(e) creates a “duty to supplement” but that

                                                   -6-
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266        Filed 12/12/23   PageID.8607    Page 7
                                            of 27


 1    duty cannot attach before Plaintiff was aware of the information to be supplemented. Cf.
 2    Luke v. Family Care and Urgent Med. Clinics, 323 F. App’x 496, 500 (9th Cir. 2009)
 3    (noting “[s]upplementation under the Rules means correcting inaccuracies, or filling the
 4    interstices of an incomplete report based on information that was not available at the time
 5    of the initial disclosure”) (quoting Keener v. United States, 181 F.R.D. 639, 640 (D. Mont.
 6    1998)). As follows, Plaintiff was not “untimely” in disclosing Deschamps and the other
 7    identified witnesses after receipt of her voicemail. See Dayton Valley Investors, LLC v.
 8    Union Pac. R. Co., No. 2:08-CV-00127-ECR, 2010 WL 3829219, at *3 (D. Nev. Sept. 24,
 9    2010) (holding “[t]iming is better gauged in relation to the availability of the supplemental
10    information” rather than the timing of the discovery cutoff date).
11          Even if Plaintiff’s disclosure was untimely under Rule 26(e), the Court may decline
12    to impose Rule 37(c)(1) exclusion where the discovery violation was either substantially
13    justified or harmless. See, e.g., Erhart v. BofI Holding, Inc., No. 15-cv-02287-BAS, 2022
14    WL 84389, at *2 (S.D. Cal. Jan. 7, 2022). The Ninth Circuit “give[s] particularly wide
15    latitude to the district court’s discretion to issue sanctions under Rule 37(c)(1).” Yeti by
16    Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001). Courts
17    consider several factors to determine whether substantial justification or harmlessness
18    exists: (1) prejudice or surprise to the party against whom the evidence is offered; (2) the
19    ability of that party to cure the prejudice; (3) the likelihood of disruption of trial; and (4)
20    bad faith or willfulness in not timely disclosing the evidence. See Lanard Toys Ltd. v.
21    Novelty, Inc., 375 F. App’x 705, 713 (9th Cir. 2010).
22          In reviewing these factors, the Court does not find bad faith or willfulness in waiting
23    three weeks to disclose these new witnesses. Plaintiff needed sufficient time to verify the
24    new witnesses’ proposed testimony and determine it intended to use this information at
25    trial. A three week window to accomplish these tasks is not dilatory and does not amount
26    to bad faith. Further, trial is unlikely to be disrupted as the trial schedule has been vacated
27    in this matter. Compare Soverns v. Delta Air Lines, Inc., No. 20-CV-06258-BLF, 2023
28    WL 2768431, at *2 (N.D. Cal. Apr. 3, 2023) (holding a belated disclosure harmless where

                                                   -7-
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266        Filed 12/12/23   PageID.8608    Page 8
                                            of 27


 1    the disclosures were made months before trial), with Montalvo v. Am. Family Mut. Ins. Co.,
 2    No. CV-12-02297-PHX-JAT, 2014 WL 2986678, at *7 (D. Ariz. July 2, 2014) (holding
 3    disruption to the trial schedule was prejudicial to the moving party). Defendants will not
 4    be forced to make “last-minute preparations and decisions on the run” here. See Ollier v.
 5    Sweetwater Union High Sch. Dist., 768 F.3d 843, 863 (9th Cir. 2014).
 6          Defendants, however, will be prejudiced if they are unable to depose the newly
 7    identified witnesses to understand the extent of their knowledge and their testimony. See
 8    Soverns, 2023 WL 2768431, at *2. Accordingly, the Court finds that reopening discovery
 9    for the sole purpose of allowing Defendants to depose the twelve newly identified
10    witnesses is appropriate. Defendants’ motion to exclude these witnesses’ testimony is
11    therefore denied and discovery reopened to depose the new witnesses.
12    II.   Summary Judgment
13          A.     Legal Standard
14          Summary judgment is proper on “each claim or defense” “or the part of each claim
15    or defense” when “there is no genuine dispute as to any material fact and the movant is
16    entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” if it
17    might affect the outcome of the suit under the governing law, and a dispute is “genuine” if
18    there is sufficient evidence for a reasonable trier of fact to decide in favor of the nonmoving
19    party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
20          Summary judgment is appropriate if “particular parts of materials in the record,
21    including depositions, documents, electronically stored information, affidavits or
22    declarations, stipulations . . . admissions, interrogatory answers, or other materials” show
23    that a “a fact cannot be.” Fed. R. Civ. P. 56(c). “[T]he district court may limit its review
24    to the documents submitted for the purposes of summary judgment and those parts of the
25    record specifically referenced therein.” Carmen v. San Francisco Unified Sch. Dist., 237
26    F.3d 1026, 1030 (9th Cir. 2001). The court is not obligated “to scour the record in search
27    of a genuine issue of triable fact.” Keenan v. Allen, 91 F.3d 1275, 1279 (9th Cir. 1996)
28    (quoting Richards v. Combined Ins. Co. of Am., 55 F.3d 247, 251 (7th Cir. 1995)). When

                                                   -8-
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266        Filed 12/12/23   PageID.8609     Page 9
                                             of 27


 1    resolving a motion for summary judgment, the court must view all inferences drawn from
 2    the underlying facts in the light most favorable to the nonmoving party. See Matsushita
 3    Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). The court does not
 4    make credibility determinations or weigh conflicting evidence. See Anderson, 477 U.S. at
 5    255. The court’s role at summary judgment “is to isolate and dispose of factually
 6    unsupported claims” so that they are “prevented from going to trial with the attendant
 7    unwarranted consumption of public and private resources.” Celotex Corp. v. Catrett, 477
 8    U.S. 317, 323–24, 327 (1986). “Disputes over irrelevant or unnecessary facts will not
 9    preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors
10    Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).
11          The party seeking summary judgment bears the initial burden of establishing the
12    absence of a genuine issue of material fact. Celotex Corp., 477 U.S. at 323. The moving
13    party can satisfy its burden in two ways: (1) by presenting evidence that negates an essential
14    element of the nonmoving party’s case or (2) by demonstrating that the nonmoving party
15    failed to make a showing sufficient to establish an element essential to that party’s case on
16    which that party will bear the burden of proof at trial. Id. at 322–23. If the moving party
17    fails to discharge this initial burden, summary judgment must be denied and the court need
18    not consider the nonmoving party’s evidence. Adickes v. S.H. Kress & Co., 398 U.S. 144,
19    159–60 (1970).
20          If the moving party meets its burden, the nonmoving party must go beyond the
21    pleadings and, by its own evidence or by citing appropriate materials in the record, show
22    by sufficient evidence that there is a genuine dispute for trial. Celotex Corp., 477 U.S. at
23    324. The party “must do more than simply show that there is some metaphysical doubt as
24    to the material facts . . . [w]here the record as a whole could not lead a rational trier of fact
25    to find for the non-moving party, there is no ‘genuine issue for trial.’” Matsushita, 475
26    U.S. at 587 (quoting First Nat. Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)).
27    A “scintilla of evidence” in support of the nonmoving party’s position is insufficient; “there
28    must be evidence on which the jury could reasonably find for the [nonmoving party].”

                                                    -9-
                                                                                               21cv1305
     Case 3:21-cv-01305-BAS-DDL        Document 266         Filed 12/12/23   PageID.8610   Page
                                            10 of 27


 1    Anderson, 477 U.S. at 252. See also Triton Energy Corp. v. Square D Co., 68 F.3d 1216,
 2    1221 (9th Cir. 1995). Nor can “a party . . . manufacture a genuine issue of material fact
 3    merely by making assertions in its legal memoranda.” S.A. Empresa de Viacao Aerea Rio
 4    Grandense (Varig Airlines) v. Walter Kidde & Co., Inc., 690 F.2d 1235, 1238 (9th Cir.
 5    1982) (citations omitted).
 6            B.    Plaintiff’s Lanham Act False Advertising Claims
 7            Plaintiff moves for partial summary judgment on its claim that Defendants violate
 8    the false advertising provision of the Lanham Act by claiming that “OSRX operates in full
 9    compliance with Section 503A regarding compounded drugs as defined in the [FDCA].”
10    (ECF No. 171-1 at 10–11.) Defendants also move for partial summary judgment on this
11    claim and Plaintiff’s other false advertising claims. (ECF No. 168-1 at 9.)
12            The elements of a Section 43(a) false advertising claim under the Lanham Act are:
13             (1) a false statement of fact by the defendant in a commercial advertisement
              about its own or another's product;
14
              (2) the statement actually deceived or has the tendency to deceive a substantial
15            segment of its audience;
              (3) the deception is material, in that it is likely to influence the purchasing
16
              decision; (4) the defendant caused its false statement to enter interstate
17            commerce; and
              (5) the plaintiff has been or is likely to be injured as a result of the false
18
              statement, either by direct diversion of sales from itself to defendant or by a
19            lessening of the goodwill associated with its products.
20    Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997) (citing Cook,
21    Perkiss and Liehe, Inc. v. Northern Cal. Collection Serv., Inc., 911 F.2d 242, 244 (9th Cir.
22    1990)). The Court will analyze each element of ImprimisRx’s false advertising claims in
23    turn.
24                  1.     Falsity
25            Plaintiff contends the material facts establish that OSRX’s claim it “operates in full
26    compliance with Section 503A regarding compounded drugs as defined in the [FDCA]” is
27    literally false. (ECF No. 171-1 at 24.) Plaintiff argues Defendants are not in compliance
28    with Section 503A based on two theories: (1) Defendants instruct prescribers to place bulk

                                                   - 10 -
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266         Filed 12/12/23   PageID.8611   Page
                                           11 of 27


 1    product orders, rather than for particular patients, and provide “office stock” for use by
 2    unspecified future patients; and (2) Defendants fail to compound drugs in a sterile manner
 3    in violation of USP Chapter 797. (Id.)
 4            To demonstrate falsity under the Lanham Act, “a plaintiff may show that the
 5    statement was literally false, either on its face or by necessary implication, or that the
 6    statement was literally true but likely to mislead or confuse consumers.” Southland Sod
 7    Farms, 108 F.3d at 1139. When evaluating whether a claim is literally false, the claim
 8    must always be analyzed in its full context. Id. “Literal falsity is a question of fact, and
 9    summary judgment should not be granted where a reasonable jury could conclude a
10    statement is not false.” K&N Eng’g, Inc. v. Spectre Performance, No. EDCV 09-01900-
11    VAP, 2011 WL 4387094, at *9 (C.D. Cal. Sept. 20, 2011) (citing Southland Sod Farms,
12    108 F.3d at 1144–45).
13                        i)     Bulk Ordering
14            Plaintiff claims Defendants’ statement is literally false because OSRX provides bulk
15    order prescriptions and “office stock” in contravention of the requirements of Section 503A
16    of the FDCA. Section 503A, as an exception to the FDCA’s general drug approval
17    requirements, is limited to products “compounded for an identified individual patient based
18    on the receipt of a valid prescription order” or where a history of receiving valid
19    prescriptions exists between the compounding pharmacy and the prescriber. 21 U.S.C. §
20    353a.
21            Office stock are prescriptions held by prescribers for use by future, unspecified
22    patients. Section 503B outsourcing facilities are permitted to distribute compounded drugs
23    without a valid prescription and provide office stock, but Section 503A compounding
24    pharmacies are limited to only providing products for specific patients. See Prescription
25    Requirement Under Section 503A of the Federal Food, Drug, and Cosmetic Act: Guidance
26    for Industry, U.S. Department of Health and Human Services Food and Drug
27    Administration (Dec. 2016), https://www.fda.gov/media/97347/download. Accordingly,
28

                                                  - 11 -
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266          Filed 12/12/23   PageID.8612   Page
                                           12 of 27


 1    providing bulk supplies of compounded medications as office stock is prohibited under
 2    Section 503A.
 3          In support of its office stock theory, Plaintiff offers email correspondence between
 4    Defendants’ sales agents and various prescribers where Defendants advise customers to
 5    order four bottles of ophthalmological solution per patient. (ECF No. 171-1 at 13–16.)
 6    Plaintiff contends four bottles exceeds what is needed per patient and, because the bottles
 7    are not labeled with patient names, this strategy works to generate office stock in
 8    contravention of Section 503A. (Id.) Plaintiff’s pharmacy operations expert, Dr. Kenneth
 9    Schell, opines this four bottle order strategy helps skirt Section 503A’s bulk order
10    prohibition. (Id.) In response, Defendants argue four bottles is an appropriate quantity of
11    product per patient. (ECF No. 206 at 14.) Defendants offer deposition testimony by Dr.
12    Damien Goldberg and Amy Frost that dosing regimens are patient and physician specific
13    and that there is a range of plausible bottles per patient. (Id. at 14–15.)
14          In reviewing the evidence, the Court finds the question of whether four bottles per
15    patient is excessive is contested. Plaintiff has offered the testimony of its medical experts
16    and Defendant has countered with its own expert testimony and declarations. (ECF Nos.
17    171-1 at 12, 206 at 14–15.) Ultimately, the question of whether four bottles per patient is
18    appropriate, and subsequently interpreting whether that sales tactic is a workaround for
19    Section 503A’s individual prescription requirements, is not undisputed given the evidence
20    before the Court.
21          Further, even if there was no controversy over the appropriate amount of product
22    dispensed per patient, there is a factual dispute over whether Defendants actually
23    distributed the product discussed in their sales emails. Defendants assert the sales emails
24    describe their sales and marketing communications rather than their dispensing practices.
25    (Id. at 16.) Defendants assert the prescription data reviewed by Dr. Alyson Wooten shows
26    bulk orders and office stock were not actually provided. (ECF No. 206 at 17.) To support
27    its theory that these products were dispensed, Plaintiff provides the declarations of three
28    former OSRX employees who all claim OSRX shipped large quantities of product without

                                                   - 12 -
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266         Filed 12/12/23   PageID.8613   Page
                                          13 of 27


 1    individual patient prescriptions. (ECF No. 171-1 at 15.) In turn, Defendants present
 2    rebuttal declarations by current OSRX employees and claim the former employees are not
 3    credible. (Id.)
 4          In assessing the evidence, the Court finds there is a dispute of material fact as to
 5    whether there were valid patient prescriptions for each bottle and whether office stock was
 6    actually dispensed. Summary judgment under this theory of falsity is not merited.
 7                       ii)   Compliance with USP Chapter 797
 8          Plaintiff argues OSRX’s claim that it “operates in full compliance with Section
 9    503A” is literally false because Plaintiff violates USP Chapter 797 and therefore Section
10    503A. (ECF No. 171-1 at 20–22.)
11          Section 503A of the FDCA requires compounding pharmacies comply with the
12    “applicable United States Pharmacopeia (“USP”) . . . monograph if one exists, and the
13    [USP] chapter on pharmacy compounding.” 21 U.S.C. § 353a(b)(1). USP Chapter 797
14    “describes the minimum standards to be followed when preparing compounded sterile
15    human and animal drugs.” USP Chapter 797, § 1. USP Chapter 797 provides a litany of
16    standards applicable to Defendants’ compliance with Section 503A.
17          Plaintiff contends OSRX violates USP Chater 797 because: OSRX personnel do not
18    comply with garbing and cleaning requirements; OSRX equipment is not maintained or
19    recertified; OSRX compounding procedures are not updated or recorded properly; OSRX
20    failed sterility and visual tests are not corrected; OSRX reports of patients experiencing
21    adverse side effects are not investigated; and OSRX standard operating procedures
22    (“SOPs”) are not maintained. (ECF No. 171-1 at 25–26.)
23          In support of these allegations, Plaintiff offers the declarations of two former OSRX
24    employees, Deschamps and Zirko, who declare they personally observed the alleged
25    manufacturing defects. (ECF No. 171-1 at 20–22.) Plaintiff does not adduce any additional
26    evidence in support of its claim that Defendants violate the provisions of USP Chapter 797.
27    In response, Defendants offer the declarations of Frost and Brian Holdorf that deny the
28    facts observed by Deschamps and Zirko (ECF No. 206 at 18–19). For each alleged

                                                 - 13 -
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL        Document 266         Filed 12/12/23   PageID.8614   Page
                                            14 of 27


 1    violation observed by Deschamps and Zirko, Frost or Holdorf dispute and rebut the claims
 2    made. Defendants also present the job performance records of Deschamps and Zirko in an
 3    effort to undermine their credibility.
 4          Neither party is entitled to partial summary judgment with respect to this claim.
 5    Defendants provide rebuttal declarations for each observed production violation offered in
 6    the declarations of Deschamps and Zirko. “Credibility determinations, the weighing of the
 7    evidence, and the drawing of legitimate inferences from the facts are jury functions, not
 8    those of a judge, whether he [or she] is ruling on a motion for summary judgment or for a
 9    directed verdict.” Anderson, 477 U.S. at 255 (1986). See also Neely v. St. Paul Fire and
10    Marine Ins. Co., 584 F.2d 341, 344 (9th Cir. 1978).
11          Given the competing declarations offered by former and current OSRX employees,
12    there is a material factual dispute as to whether Defendants operate in full compliance with
13    USP Chapter 797. It is the responsibility of the trier of fact to make the requisite credibility
14    assessments to assess whether USP Chapter 797 has been violated.
15          Overall, because the evidence is disputed for both of Plaintiff’s theories, summary
16    judgment as to the issue of falsity is not warranted.
17                 2.     Deception
18          Plaintiff moves for summary judgment on the element of deception arguing
19    Defendants’ literally false statements are necessarily deceptive. Where a challenged
20    statement is literally false, consumer confusion is presumed. U-Haul Int’l, Inc. v. Jartran,
21    Inc., 793 F.2d 1034, 1041 (9th Cir. 1986). Because falsity has not been established for
22    Plaintiff’s Section 503A compliance claim, a presumption of deception does not apply.
23    Plaintiff has otherwise not provided any evidence as to deception. Accordingly, summary
24    adjudication on the issue of deception is not merited.
25                 3.     Materiality
26          Plaintiff moves for partial summary judgment arguing the evidence is
27    uncontroverted that Defendants’ challenged Section 503A compliance claims are material.
28    (ECF No. 171-1 at 27.) Defendants move for partial summary judgment arguing the

                                                   - 14 -
                                                                                              21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266         Filed 12/12/23   PageID.8615   Page
                                          15 of 27


 1    evidence is uncontroverted that the alleged misstatements were not material. (ECF No.
 2    168-1 at 17–19.) Under the Lanham Act, false or deceptive advertising is material where
 3    “it is likely to influence the purchasing decision.” Rice v. Fox Broad. Co., 330 F.3d 1170,
 4    1181 (9th Cir. 2003) (quoting Cook, Perkiss, and Liehe, 911 F.2d at 244).
 5          As an initial matter, Plaintiff argues when statements are found to be literally false,
 6    materiality is presumed according to circuit precedent. (ECF No. 203 at 12.) The Court
 7    disagrees.   In prior cases, the Ninth Circuit reviews for materiality even when the
 8    challenged statements were found to be literally false. See Rice, 330 F.3d at 1181; Skydive
 9    Ariz., Inc. v. Quattrocchi, 673 F.3d 1105, 1111–12 (9th Cir. 2012); Obesity Research Inst.,
10    LLC v. Fiber Research Int’l, LLC, 310 F. Supp. 3d 1089, 1125 (S.D. Cal. 2018) (discussing
11    Ninth Circuit precedent). As follows, even if the evidence was uncontroverted that the
12    challenged statements were literally false, Plaintiff must still provide some evidence in
13    support of its materiality argument.
14          Second, Defendants contend the challenged statement could not be observed by
15    consumers and therefore cannot be material. (Id.) In cases where the Ninth Circuit has
16    found alleged false statements were immaterial because the statements were unobservable,
17    there was no possible means by which purchasers could see the statements. See Rice, 330
18    F.3d at 1181 (holding statements were immaterial because the allegedly false video jackets
19    were not sold in retail stores, were not part of broadcasted advertisements, and were not
20    depicted in internet advertisements). That is not the case here. While the statements may
21    be presented in a small font, possible purchasers could still see them on Defendants’
22    website and order forms.
23          Turning to the evidence, Plaintiff cites declarations by four ImprimisRx customers
24    that claim Section 503A compliance was an important factor in their purchasing decisions.
25    Plaintiff also presents survey evidence by its expert Amanda Butler that 54.1% of surveyed
26    prescribers indicate that whether a compounding pharmacy “operates in full compliance
27    with Section 503A” is an important factor in selecting a compounding pharmacy. (ECF
28    No. 171-1 at 27.) In response, Defendants offer their own survey expert testimony and

                                                 - 15 -
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266         Filed 12/12/23   PageID.8616   Page
                                          16 of 27


 1    critique Butler’s opinion arguing her survey does not test the importance of the challenged
 2    statements in this case and the results appear illogical. (ECF No. 206 at 29.)
 3          Defendants’ objections to Butler’s proposed testimony do not make the evidence
 4    uncontroverted. As the Court discussed in evaluating the parties’ motions to exclude expert
 5    testimony, while Butler’s survey may have seemingly contradictory survey results, those
 6    results are not so illogical as to fully undermine the credibility of the survey. (ECF No.
 7    257.) However, Plaintiff’s evidence is not uncontroverted. Defendants present their own
 8    expert and survey evidence in direct conflict with Plaintiff’s evidence.           Given the
 9    conflicting expert testimony and evidence, the issue of materiality ultimately requires
10    parsing the credibility and weight of evidence presented by both parties.
11          Accordingly, summary adjudication on the issue of materiality is not due.
12                 4.    Dissemination in Interstate Commerce
13          Plaintiff moves for summary judgment on the element of dissemination in interstate
14    commerce. (ECF No. 168-1 at 27.) The Lanham Act proscribes misrepresentation of one’s
15    own goods or services in “commercial advertising or promotion.”                15 U.S.C. §
16    1125(a)(1)(B). The Ninth Circuit has acknowledged that it is “virtually automatic” that
17    statements on websites enter interstate commerce. See TrafficSchool.com, Inc. v. Edriver
18    Inc., 653 F.3d 820, 829 n.3 (9th Cir. 2011). Defendants placed the challenged statement
19    on their website ordering pages and included the statement on many additional webpages
20    and emails. (ECF No. 168-1 at 27–28.)
21          Accordingly, summary adjudication on the issue of dissemination in interstate
22    commerce is appropriate.
23                 5.    Injury to Plaintiff
24          Plaintiff and Defendants move for summary judgment on the issue of injury. The
25    required showing under the Lanham Act depends on the remedy sought. See Obesity
26    Research, 310 F. Supp. 3d at 1126–28. Plaintiff seeks a preliminary and permanent
27    injunction against Defendants from “engaging in any of the types of false and unlawful
28

                                                 - 16 -
                                                                                           21cv1305
     Case 3:21-cv-01305-BAS-DDL        Document 266         Filed 12/12/23   PageID.8617    Page
                                            17 of 27


 1    advertising described herein,” an award of unjustly obtained profits, compensatory
 2    damages, and statutory damages. (ECF No. 145 at 16–17.)
 3                        i)     Monetary Damages & Unjust Enrichment
 4          Under Section 43(a) of the Lanham Act, to obtain monetary damages and unjustly
 5    obtained profits, a plaintiff must have been “or is likely to be injured as a result of the false
 6    statement, either by direct diversion of sales from itself to defendant or by a lessening of
 7    the goodwill associated with its products.” Southland Sod Farms, 108 F.3d at 1139. When
 8    suing for damages, “actual evidence of some injury resulting from the deception is an
 9    essential element of the plaintiff’s case.” Harper House, Inc. v. Thomas Nelson, Inc., 889
10    F.2d 197, 210 (9th Cir. 1989).
11          Plaintiff contends under the Lanham Act injury can be presumed because
12    Defendants are its direct competitors. (ECF No. 171-1 at 28.) The Court is not convinced
13    that presumption applies here. In cases involving false comparative advertising, the Ninth
14    Circuit has held that damages may be awarded without proof of injury because a competitor
15    can be presumed harmed. See TrafficSchool.com, 653 F.3d at 831 (noting an award of
16    profits is “appropriate in false comparative advertising cases, where it’s reasonable to
17    presume that every dollar defendant makes has come directly out of plaintiff’s pocket”);
18    Nat’l Prod., Inc. v. Gamber-Johnson LLC, 699 F. Supp. 2d 1232, 1241 (W.D. Wash. 2010).
19    Similarly, in false advertising cases involving improper use of a competitor’s mark, the
20    Ninth Circuit holds injury can be presumed because the use of the mark violated the rights
21    of the mark registrant. See Lindy Pen Co., Inc. v. Bic Pen Corp., 982 F.2d 1400, 1403 (9th
22    Cir. 1993). See also Certified Nutraceuticals Inc. v. Clorox Co., No. 18-CV-0744 W
23    (KSC), 2021 WL 4460806, at *7 (S.D. Cal. Sept. 29, 2021). Neither circumstance is
24    applicable here.
25          Instead, Plaintiff must provide some proof of past injury or risk of future injury
26    caused by Defendants’ false statements. See, e.g., Quidel Corp. v. Siemens Med. Solutions
27    USA, Inc., No. 16-CV-3059-BAS-AGS, 2020 WL 4747724, at *10 (S.D. Cal. Aug. 17,
28    2020), aff’d, No. 20-55933, 2021 WL 4622504 (9th Cir. Oct. 7, 2021); Cascade Yarns, Inc.

                                                   - 17 -
                                                                                               21cv1305
     Case 3:21-cv-01305-BAS-DDL          Document 266       Filed 12/12/23   PageID.8618   Page
                                              18 of 27


 1    v. Knitting Fever, Inc., No. C10-861 RSM, 2015 WL 1735517, at *6 (W.D. Wash. Apr. 15,
 2    2015). The Lanham Act requires this proof to avoid awarding damages or profits for
 3    speculative injuries. See TrafficSchool.com, 653 F.3d at 831 (noting without proof of past
 4    injury “the district court had no way to determine with any degree of certainty what award
 5    would be compensatory” and therefore not speculative) (citing ALPO Petfoods, Inc. v.
 6    Ralston Purina Co., 913 F.2d 958, 969 (D.C. Cir. 1990)); Porous Media Corp. v. Pall
 7    Corp., 110 F.3d 1329, 1334 (8th Cir. 1997) (“[W]here a defendant is guilty of
 8    misrepresenting its own product without targeting any other specific product, it is
 9    erroneous to apply a rebuttable presumption of harm in favor of a competitor. Otherwise,
10    a plaintiff might enjoy a windfall from a speculative award of damages by simply being a
11    competitor in the same market.”).
12          Plaintiff offers a litany of evidence showing it was in competition with Defendants
13    including: an email where Defendants describe ImprimisRx as their “direct competition”
14    (Ex. 11, ECF No. 170 at 265); deposition testimony that Defendants “generally don’t lose
15    customers to Imprimis” and that customers “generally flow the other direction” (Ex. 4,
16    ECF No. 170-1 at 68); and email correspondence where Defendants attempt to poach
17    Plaintiff’s customers (Exs. 21, 23, 31, 32, 33, ECF No. 170-2 at 28–31, 37, 127–36). This
18    evidence of competition alone, however, is insufficient given the type of market and the
19    false advertising at issue here.
20          In prior instances, courts have found false advertisements that injured the entire
21    market’s reputation were sufficient to presume injury. See, e.g., Sandoz Inc. v. Amgen Inc.,
22    No. 2:22-CV-05326-RGK-MARX, 2023 WL 4681569, at *4 (C.D. Cal. June 29, 2023).
23    And in prior instances, courts have found injury can be presumed in a market consisting of
24    only two major players. Cf. TrafficSchool.com, 653 F.3d at 831 (holding a showing of
25    injury was not necessary where “it’s reasonable to presume that every dollar defendant
26    makes has come directly out of plaintiff’s pocket). Here, unlike those cases, there is
27    appreciable competition in the market, and Defendants’ false statements did not harm the
28    entire market. While ImprimisRx and Defendants are two of the largest compounding

                                                   - 18 -
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL           Document 266           Filed 12/12/23   PageID.8619       Page
                                               19 of 27


 1    pharmacies within the post-operative ophthalmological market, other U.S. Food and Drug
 2    Administration (“FDA”) approved pharmaceutical companies compete with them. For
 3    example, Allergan, Novartis, and Bio Tissue manufacture competing products.
 4    Defendants’ investment overview reflects this understanding of the market:
 5           “There are large and small companies offering post-operative surgical
             medications for the care of vision correction patients and the management of
 6
             glaucoma and dry eye disease. The list of Big Pharma name brands and
 7           generic providers includes household names like Novartis/Alcon, Allergan,
             Shire, Bausch & Lomb, Bio Tissue and BioD. However, Ocular Science only
 8
             has two significant competitors in the compounded medication and biologics
 9           space, Imprimis and Bio-Tissue.”
10    (Ex. 25, ECF No. 170-2 at 96–97.) Because prescribers have many options in selecting
11    post-operation ophthalmological drugs, the Court cannot assume Plaintiff’s sales were
12    necessarily reduced by any increases to Defendants’ sales due to the false statements.
13    Instead, Plaintiff must provide some evidence it was harmed to meet its burden.1 It has not
14    done so.
15           Plaintiff provides evidence that prescribers could care about Defendants’ Section
16    503A compliance, but this evidence goes to the materiality of the alleged statements rather
17    than injury. Plaintiff submits the declaration of Dr. Kevin Barber who asserts if “[he]
18    discovered that the supplier claimed to be compliant but was in fact intentionally
19    circumventing the applicable laws and regulations, [he] would stop prescribing from that
20    prescriber.” (ECF No. 170-4 at 17). However, Dr. Barber has only ever been an
21    ImprimisRx customer. In other instances cited by Plaintiff, an ophthalmologist was
22    concerned about Defendants’ representations as a Section 503A pharmacy (ECF No. 170-
23    4 at 144), a prescriber “currently using the Imprimis combination drops” requested
24    information from Defendants including whether they were a 503a facility (Ex. 21, ECF No.
25
26           1
               The Court is not persuaded by Plaintiff’s citation to Allergan USA, Inc. v. Imprimis Pharm., Inc.,
      2019 WL 4545960 (C.D. Cal. Mar. 27, 2019), or other cases where, absent any evidence of injury, courts
27    have denied summary judgment because the parties were competitors. The Ninth Circuit has described
      awarding profits or damages in circumstances without evidence of harm as “an uncommon remedy in a
28    false advertising suit.” TrafficSchool.com, 653 F.3d at 831.

                                                        - 19 -
                                                                                                        21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266          Filed 12/12/23   PageID.8620   Page
                                          20 of 27


 1    170-2 at 31), and another prescriber “was not happy [Defendants] weren’t a 503B
 2    [compounding pharmacy].” (Ex. 22, ECF No. 170-2 at 33). This evidence, again, goes to
 3    materiality rather than injury. Plaintiff submits evidence showing Defendants poached
 4    Plaintiff’s customers but does not show that these customers were poached as a result of
 5    Defendants’ alleged false statements. (ECF No. 203 at 16.) To wit, Plaintiff has not
 6    provided the name of or a declaration from any customers that purchased from Defendants
 7    and would have purchased from Plaintiff but for Defendants’ misstatements. As such,
 8    Plaintiff ultimately offers no evidence it was actually injured by Defendants’ alleged
 9    misstatements.
10          Plaintiff is correct that a precise calculation of damages is not required under the
11    Lanham Act. See DSPT Int’l, Inc. v. Nahum, 624 F.3d 1213, 1223 (9th Cir. 2010) (holding
12    a “crude” measure of damages was acceptable to survive a directed verdict for a suit
13    involving intentional trademark infringement). But a showing of some injury is required.
14    See Story Parchment Co. v. Paterson Parchment Paper Co., 282 U.S. 555, 562 (1931)
15    (noting “there is a clear distinction between the measure of proof necessary to establish the
16    fact that petitioner had sustained some damage and the measure of proof necessary to
17    enable the jury to fix the amount”). See also Harper House, 889 F.2d at 210. To hold
18    contrary “would enable every Lanham Act plaintiff to survive summary judgment, which
19    is not correct.” VBS Distrib., Inc. v. Nutrivita Laby’s, 811 F. App’x 1005, 1008 (9th Cir.
20    2020). Plaintiff has not met its burden because it has not provided any evidence of actual
21    injury.
22          Accordingly, Defendants’ motion for summary judgment is granted with respect to
23    injury for Plaintiff’s monetary damages and unjust enrichment claims.
24                       ii)    Injunctive Relief
25          Because a competitor may suffer future injury, competitors “need not prove injury
26    when suing to enjoin conduct that violates section 43(a).” Harper House, 889 F.2d at 210.
27    It is uncontested that Plaintiff and Defendants are competitors in the post-care
28    ophthalmological drug compounding market. While it does not need to provide proof of

                                                  - 20 -
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266           Filed 12/12/23   PageID.8621   Page
                                           21 of 27


 1    injury to seek injunctive relief under the Lanham Act, Plaintiff must still meet all the prongs
 2    for a permanent injunction. See Obesity Research, 310 F. Supp. 3d at 1128. A plaintiff
 3    seeking a permanent injunction must establish:
 4          (1) that it has suffered an irreparable injury; (2) that remedies available at law,
            such as monetary damages, are inadequate to compensate for that injury; (3)
 5
            that, considering the balance of hardships between the plaintiff and defendant,
 6          a remedy in equity is warranted; and (4) that the public interest would not be
            disserved by a permanent injunction.
 7
 8    eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006).
 9          The Court finds Plaintiff has not offered any evidence that it has suffered an
10    irreparable injury and is therefore entitled to injunctive relief. See Obesity Research, 310
11    F. Supp. 3d at 1128; Williams & Cochrane, LLP v. Rosette, 631 F. Supp. 3d 884, 918 (S.D.
12    Cal. 2022); Kurin, Inc. v. Magnolia Med. Techs., Inc., 473 F. Supp. 3d 1117, 1146 (S.D.
13    Cal. 2020). As discussed above, Plaintiff has failed to provide any evidence it was actually
14    injured by Defendants’ alleged false advertisements and therefore has not met its burden
15    of showing it has suffered an irreparable injury or that non-monetary damages are
16    inadequate to compensate it for its injury.
17          Because Plaintiff has not met its evidentiary burden with respect to its claim for
18    injunctive relief, Defendants’ motion for summary judgment on injunctive relief is granted.
19          C.     Preemption/Preclusion Under the FDCA
20          Defendants move for summary judgment on Plaintiff’s false advertising claims
21    arguing that ImprimisRx is engaging in “impermissible private enforcement of the FDCA.”
22    (ECF No. 168-1 at 20–21.) The Court has previously addressed this question and denied
23    Defendants’ motion for partial judgment on the pleadings. (ECF No. 144.) The Court need
24    not renew discussion of this argument because it is moot given the Court’s ruling with
25    respect to injury.
26          D.     Unclean Hands Defense
27          Defendants move for partial summary judgment on their equitable defense of
28    unclean hands. (ECF No. 168-1 at 25.) Because the Court granted Defendants’ motion for

                                                    - 21 -
                                                                                              21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266          Filed 12/12/23   PageID.8622   Page
                                           22 of 27


 1    summary judgment on the issue of injury, this affirmative defense as it relates to Plaintiff’s
 2    false advertising claims is moot. Accordingly, the Court does not reach this issue.
 3          E.     Defendants’ Counterclaims
 4          In their answer to Plaintiff’s Third Amended Complaint, Defendants assert four false
 5    advertising counterclaims against ImprimisRx. (ECF No. 152 at 21–22.) Plaintiff moves
 6    for summary judgment on Defendants’ false advertising counterclaims under a variety of
 7    arguments.
 8                 1.     Claims Outside of the Pleadings
 9          In their opposition to Plaintiff’s motion for partial summary judgment, Defendants
10    claim Plaintiff falsely advertises that it “compl[ies] with all cGMP requirements which are
11    the most stringent standards in the nation.” (ECF No. 206 at 21). Plaintiff asserts this
12    claim is suitable for summary judgment because it was not pled in Defendants’
13    counterclaims. (ECF No. 218 at 9.)
14          Where a complaint “does not include the necessary factual allegations to state a
15    claim, raising such claim in a summary judgment motion is insufficient to present the claim
16    to the district court.” Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1080 (9th Cir.
17    2008). Defendants do not identify ImprimisRx’s cGMP compliance claim as a challenged
18    claim in its their answer and counterclaims to Plaintiff’s Third Amended Complaint.
19    However, ImprimisRx’s cGMP compliance is factually related to its Baum Claim that
20    ImprimisRx is “compliant with highest quality standards.” (ECF No. 152.) Defendants
21    are not asserting an entirely new claim in their motion for partial summary judgment but
22    rather are identifying a particular standard by which to evaluate their previously pled Baum
23    Claim. Accordingly, the Court considers Plaintiff’s cGMP compliance in that context.
24                 2.     Statute of Limitations
25          Plaintiff argues that Defendants’ false advertising counterclaims are barred by the
26    statute of limitations on the claims. (ECF No. 171-1 at 30.) Plaintiff insists the claims
27    made by CEO Baum occurred in February and August 2017 while the remaining claims
28    were all first made before 2019. (Id.) Because Defendants brought their counterclaims in

                                                   - 22 -
                                                                                             21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266         Filed 12/12/23   PageID.8623   Page
                                           23 of 27


 1    May 2022, Plaintiff contends these claims are barred by the Lanham Act’s three-year
 2    limitations period. (Id.)
 3           “The Lanham Act contains no explicit statute of limitations.” Jarrow Formulas,
 4    Inc. v. Nutrition Now, Inc., 304 F.3d 829, 836 (9th Cir. 2002). It is unclear whether the
 5    Lanham Act is governed by a limitations period, as opposed to laches. See Yeager v.
 6    Bowlin, 495 F. App’x 780, 781–82 (9th Cir. 2012) (“We have not resolved whether a statute
 7    of limitations defense applies to claims under the Lanham Act, which are of equitable
 8    character.”) (quotation omitted). Regardless, laches is a well-established equitable defense
 9    to Lanham Act claims. See Jarrow, 304 F.3d at 835.
10          To assess a laches defense, the Court first examines whether a delay occurred and
11    then decides whether that delay was reasonable. See Jarrow, 304 F.3d at 838. To assess
12    delay, courts reference the analogous state law limitations period. Id. If the plaintiff filed
13    suit outside the relevant limitations period, courts apply a strong presumption that laches
14    bars the claims. See Shouse v. Pierce Cnty., 559 F.2d 1142, 1147 (9th Cir. 1977). The
15    presumption of laches is triggered if any part of the alleged wrongful conduct occurred
16    beyond the limitations period. See Jarrow, 304 F.3d at 837. The limitations period is not
17    reset even if the offensive conduct continues. See id.
18          The limitations period for Lanham Act claims begins to run when a party knew or
19    should have known about a cause of action. See Jarrow, 304 F.3d at 838. The start date,
20    however, is tolled by the discovery rule which pauses accrual “until the plaintiff discovers,
21    or has reason to discover, the cause of action.” Grisham v. Phillip Morris U.S.A., Inc., 40
22    Cal. 4th 623, 634 (Cal. 2007). To invoke this rule, plaintiffs must plead and prove facts
23    showing: (1) lack of knowledge; (2) lack of means of obtaining knowledge; and (3) how
24    and when plaintiff actually discovered the fraud. Gen. Bedding Corp. v. Echevarria, 947
25    F.2d 1395, 1397 (9th Cir. 1991).
26          The parties agree that California’s limitations period for fraud is most analogous
27    such that a three-year limitations period applies here. See Cal. Civ. Proc. Code § 338(d).
28    Plaintiff insists the challenged claims were made three years before Defendants filed their

                                                  - 23 -
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266          Filed 12/12/23   PageID.8624   Page
                                          24 of 27


 1    counterclaims. With respect to the Baum Claims, the parties appear to agree those claims
 2    were made in February 2017. For the Saharek, USP, and Trust Claims, Defendants appear
 3    to dispute the date of publication but do not provide any evidence or counter Plaintiff’s
 4    declaration by Andrew Boll that the statements were made and published prior to 2019.
 5    (ECF No. 171-3 at 289.) In sum, all four challenged claims were publicly available three
 6    years before Defendants lodged their counterclaims.
 7          Defendants insist, however, that their claims are not time-barred because Plaintiff
 8    “fails to present any evidence that establishes when Defendants became aware, or should
 9    have become aware, that the challenged statements were made, nor why Defendants should
10    have been aware that those statements were false by 2019.” (ECF No. 206 at 31.) This,
11    however, is not Plaintiff’s burden. It is Defendants’ responsibility to make a showing for
12    why they lacked the means to discover Plaintiff’s statements to invoke the tolling of the
13    discovery rule. They have not done so. Indeed, because Plaintiff is a main competitor for
14    Defendants, one assumes Defendants would be aware of the content hosted on Plaintiff’s
15    website or the claims Plaintiff makes regarding its products. Cf. Baby Trend, Inc. v. Playtex
16    Prod., LLC, No. 5:13-CV-647-ODW RZX, 2013 WL 4039451, at *4 (C.D. Cal. Aug. 7,
17    2013) (finding the plaintiff should have been aware of claims made on its main
18    competitor’s packaging). Therefore, a presumption of laches applies.
19          Finding a delay, the Court then assesses whether Defendants’ delay was
20    unreasonable and whether Plaintiff would suffer prejudice caused by the delay. To assess
21    whether the delay was unreasonable, courts look to the length of the delay and the
22    reasonableness of that delay in light of the analogous limitations period. Plaintiff first
23    made some of the challenged claims in 2017 and the other claims before 2019. Defendants
24    did not bring their counterclaims until 2022. Defendants’ delay is almost twice the time
25    available to file suit under the analogous state limitations period. See Jarrow, 304 F.3d at
26    839. Defendants have not offered any reasons excusing the delay aside from waiting until
27    Plaintiff filed suit, which is an insufficient justification. Defendants’ delay was then
28    unreasonable.

                                                  - 24 -
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL      Document 266          Filed 12/12/23   PageID.8625   Page
                                          25 of 27


 1          However, Plaintiff does not appear prejudiced by the delay. Courts generally
 2    recognize two forms of prejudice in the laches context: evidentiary and expectations-based.
 3    See Danjaq LLC v. Sony Corp., 263 F.3d 942, 955 (9th Cir. 2001). Expectations-based
 4    prejudice occurs where defendants take actions or suffer consequences they would not have
 5    if plaintiff had brought suit promptly. Id. ImprimisRx has not offered any evidence to
 6    support a finding of prejudice due to Defendants’ delay. In other cases, courts have found
 7    prejudice where a party invests labor and capital to build on its advertising goodwill or
 8    expanded its business in line with its presumed rights. See, e.g., NAACP v. NAACP Legal
 9    Def. & Educ. Fund, Inc., 753 F.2d 131, 138 (D.C. Cir. 1985). Neither appear to have
10    happened here. In weighing the equities, without any support for a finding of prejudice at
11    the posture before the Court, application of laches is inappropriate.
12          Accordingly, the Court denies Plaintiff’s motion to summarily adjudicate
13    Defendants’ counterclaims on the basis of laches.
14                 3.    Elements of Lanham Act Counterclaims
15          Plaintiff moves for summary judgment on Defendants’ false advertising
16    counterclaims contending there is no evidence to support their claims. (ECF No. 171-1 at
17    29–30.) The Court examines whether summary judgment is appropriate by addressing
18    each Lanham Act element in turn.
19                       i)     Falsity
20          Plaintiff asserts that there is no evidence from which a reasonable juror could
21    conclude that the challenged statements were literally false at the time they were made.
22    (ECF No. 171-1 at 29.) With respect to the Saharek claims, Defendants present a letter
23    from the FDA that ImprimisRx does not test every batch of product. (ECF No. 206 at 24.)
24    With respect to the USP Claims, Defendants provide an FDA inspection report that the
25    ImprimisRx’s sterility, endotoxin, and potency testing lacks sufficient sampling protocols,
26    which would violate USP standards. (Id. at 25.) With respect to the Trust Claims,
27    Defendants provide a number of issues related to sterility through employee declarations,
28

                                                  - 25 -
                                                                                            21cv1305
     Case 3:21-cv-01305-BAS-DDL        Document 266         Filed 12/12/23   PageID.8626   Page
                                            26 of 27


 1    third party audits, and FDA letters. (Id. at 22–26.) As such, Defendants present sufficient
 2    facts to meet its burden as to the falsity of Plaintiff’s advertising claims.
 3          Accordingly, summary adjudication on the issue of falsity is not merited.
 4                        ii)    Materiality
 5          Plaintiff argues there is no evidence that a reasonable juror could find the challenged
 6    statements were material. (ECF No. 171-1 at 29.) It contends OSRX did not survey any
 7    customers to determine whether its statements are material and has not provided any
 8    customers who saw or relied on its advertising claims. (Id.) In support of their claim that
 9    Plaintiff’s statements are material, Defendants note Plaintiff’s marketing strategy centers
10    around its sterility and reliability concerns, Plaintiff trains its sales representatives to use
11    its sterility and reliability in their sales pitches, and Plaintiff compares its products to
12    Defendants’ products based on these claims. (ECF No. 206 at 21–22.)
13          The evidence here is disputed.        While Defendants have not presented survey
14    evidence in support of their claim, a reasonable jury could find Plaintiff’s claims were
15    material to prescribers. Accordingly, summary judgment as to materiality is not warranted.
16                        iii)   Injury to Defendants
17          Plaintiff contends that no reasonable jury could find the challenged statements
18    harmed Defendants. (ECF No. 171-1 at 29.) As before, injury is examined according to
19    the relief sought. Defendants seek injunctive and monetary relief in pursuing their
20    counterclaims. (ECF No. 152 at 29.) Like Plaintiff’s false advertising claims, the
21    undisputed facts only show ImprimisRx and Defendants are competitors. Defendants do
22    not submit any documentary evidence or deposition evidence demonstrating they lost
23    customers due to Plaintiff’s alleged false advertisements. Without evidence of actual
24    injury, this is insufficient to survive a motion for summary judgment.                      See
25    TrafficSchool.com, 653 F.3d at 831. Accordingly, the Court grants Plaintiff’s motion for
26    summary judgment with respect to injury for monetary damages.
27          With respect to injunctive relief, Defendants also have not provided evidence to
28    survive a motion for summary judgment with respect to the eBay elements for injunctive

                                                   - 26 -
                                                                                              21cv1305
     Case 3:21-cv-01305-BAS-DDL       Document 266         Filed 12/12/23   PageID.8627   Page
                                           27 of 27


 1    relief. See eBay, 547 U.S. at 391. Defendants have not submitted any evidence showing
 2    they were actually harmed by ImprimisRx’s alleged false statements and therefore have
 3    not made a sufficient showing of irreparable harm.             Accordingly, the Court grants
 4    Plaintiff’s motion for summary judgment with respect to injunctive relief.
 5                                             CONCLUSION
 6          Based on the foregoing, the Court DENIES Defendants’ motion to exclude
 7    Plaintiff’s belatedly identified witnesses (ECF No. 189-1). The Court reopens discovery
 8    solely for the purpose of obtaining the depositions of the twelve newly identified witnesses
 9    in Plaintiff’s amended disclosures.
10          The Court GRANTS Defendants’ motion for partial summary judgment (ECF No.
11    168-1) with respect to Plaintiff’s false advertising claims under the Lanham Act (Cause of
12    Action 1). This does not, however, dispose of this case. Plaintiff maintains its remaining
13    causes of action, namely trademark infringement in violation of the Lanham Act, false
14    designation of origin in violation of the Lanham Act, common law unfair competition,
15    copyright infringement, and violation of California’s unfair competition law.
16          The Court DENIES Plaintiff’s motion for partial summary judgment with respect to
17    its false advertising claims under the Lanham Act and GRANTS Plaintiff’s motion for
18    summary judgment with respect to Defendants’ false advertising counterclaims. (ECF No.
19    171-1).
20          The Court orders the parties to contact the Magistrate Judge’s chambers within
21    fourteen days of today’s date to coordinate the deposition of Plaintiff’s newly identified
22    witnesses and to set new dates for a pretrial conference and trial.
23          IT IS SO ORDERED.
24
25    DATED: December 12, 2023
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                                                                                            21cv1305
